Case 2:18-cv-02421-JFW-E Document 143-1 Filed 07/11/18 Page 1 of 11 Page ID #:2685
  Case 2:18-cv-02421-JFW-E Document 111-1 Filed 06/25/18 Page 1 of 11 Page ID #:2006




                        EXHIBIT 1




                        E~~HIBIT 1
    Case 2:18-cv-02421-JFW-E Document 143-1 Filed 07/11/18 Page 2 of 11 Page ID #:2686
      Case 2:            21-JFW-E Document 111-1 Filed 06/25/18 Page 2 of 11 Page ID #:2007




           1,
                             UNITED STATES DISTRICT COURT
          2         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
          3
              BROIDY CAPITAL MANAGEMENT                   Case No. 2:18-CV-02421-JFW-(Ex)
          4   LLC   and ELLIOTT BROIDY,
                                                          The Honorable
          5 ~ Plaintiffs,                                             C h~~2 cs F. ,E ~c,~
                                                          Request to the A ropriate Judicial
          6 v.                                            Aufhority of the ~~ate of Qatar for
                                                          Judicial Assistance
a         7 STATE OF QATAR,STONINGTON
             STRATEGIES LLC,rIICOLAS D.
          8 MUZ1N, GLOBAL RISK ADVISORS
W         9 LLC,KEVIN CRACKER,DAVID
Z
X            MARK POWELL,MOHAMMED BIN
         10 HAMAD BIN KHALIFA AL THANI,
J


         1 1 A~IlVIED AL-RUMAIHI,and DOES 1-
             10,
W        12 Defendants.
J

J

         13
U
         14
         15         The United States District Court Central District of California presents its
w
0        16 compliments to the appropriate judicial authority ofthe State of Qatar, and requests
m
         17 international assistance to obtain evidence to be used in a civil proceeding before
         ~:~ this Court in the above captioned matter.
         19         I.      REQUEST
         2pi        This Court respectfully requests the assistance described herein as necessary

         21 in the interests ofjustice. This Court requests that the appropriate judicial authority
         22 of the State of Qatar compel Ooredoo Q.S.C.("Ooredoo"), a company having its
         23 principal place of business in Doha, Qatar, to produce the documents requested in
         24 Attachment A ("Evidence Request"). Ooredoo's address in Doha, Qatar is:
         25
                            Ooredoo Q.S.C.
        26
                            Ooredoo Tower
        27                  West Bay Area, Doha, Qatar
        28

                                                                           LETTER ROGATORY
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      Case 2 8-cv-02421-JFW-E Document 111-1 Filed 06/25/18 Page 3 of 11 Page ID #:2008




          1         The appropriate judicial authority ofthe State of Qatar is requested to serve
          2 the Evidence Request in a manner of service consistent with the laws ofthe State of
          3 Qatar. This Court further requests that Ooredoo be ordered to produce the
          4 documents requested in the Evidence Request directly to David K. Willingham,
          5 counsel for Plaintiffs at the following address:
          6
a
          ~                David K. Willingham, Esq.
J                          725 S Figueroa Street, 31St Floor
J

          g                Los Angeles, California 90017
w         9                Phone: +213-629-9040
Z
X
W        10                   ~~/
                    II.    FACTOF THE CASE
LL
         11
W                   Plaintiffs Broidy Capital Management LLC("BCM")and Elliott Broidy
J
         12
J             ~~~Broidy") have filed a civil complaint against Defendants the State of Qatar,
         13
U             Stonington Strategies LLC,Nicolas D. Muzin, Global Risk Advisors LLC,Kevin
         14
              Chalker, David Mark Powell, Mohammed Bin Hamad Bin Khalifa al Thani, Ahmed
W        15
             Al-Rumaihi, and other as yet unidentified individuals and entities. The complaint
0        16
m
         1 ~ alleges that the State of Qatar, by itself and/or through its agents, unlawfully hacked
         1 g into Plaintiffs' email accounts and computer servers, stole private emails and
           documents, and broadly disseminated the stolen items to domestic and foreign
        19
        20 media.
                    PIA;~v ~,~f~f a llt~~ t'~~-fi                           is
                                                              Ooredoo                 in
        21
           possession of evidence that is directly relevant to material issues in dispute before
        22                                           III
           this Court. BCM's computer server log        ow t at someone using one or more
        23
           computing devices on Ooredoo's Internet service provider network ("Ooredoo ISP
        24
           Network") connected to BCM's servers on February 14, 2018 and February 19,
        25                                A     ~
           2018. BCM's server logs also ow that the user or users ofthe computing devices
        26                                   ~s ~r~d-
        27 transmitted BCM's and Broidy's on i entia and proprietary data from BCM's
                    ~,..s~d~r                      ~aord:,~ ~ ~1.~~~ ~~~fs~
        2S servers t naut orized computers either BCM nor Broidy were aware of, or
                                                       -2-
                                                                           LETTER ROGATORY
    Case 2:18-cv-02421-JFW-E Document 143-1 Filed 07/11/18 Page 4 of 11 Page ID #:2688
      Case 2 8-cv-02421-JFW-E Document 111-1 Filed 06/25/18 Page 4 of 11 Page ID #:2009


                                                                                                   ~ss~~'
          1 authorized, the data transfers described above. The Internet Protoco~~ddress sed
          2 by the identified computing device or devices ("Subject IP Address") s registered as
                                                               ss ~                              a1
          3 being part ofthe Ooredoo ISP Network.              e nau orized data transfe           arrie out
                                                                        ~f Gl~
          4 by the person or persons using the Subject IP Ad ressis as pa a coordinated
                                                     v    sal
          5 effort to infiltrate BCM's servers forth      urpose of stealing, and then publicly
                                                 I                         i       ~
          6 disseminating, BCM's and Broady          riva e email an       onfidential documents.
                                                                                 r~,i}
a         7         As the operator ofthe Ooredoo ISP Network, Ooredo                aintainy, among
J
J
          8 other things, logs that record the Internet activity of computing devices using IP
                                                                                         I~~/►

          9 addresses registered to the Ooredoo ISP Network. Ooredoo als                     aintain*
Z                                                                        HRvr
X                                                                  rH
W        10 information that can be used to identify subscri ers w                 using specific IP
         11 addresses on specified dates. This Court is, therefore, requesting assistance in
w        12 obtaining from Ooredoo Internet activity logs and subscriber information relating
J


         13 the Internet activity associated with the Subject IP Address on two specific dates.
                                    ads s                                                       ~»~►,}y
U
         14 The requested evidence        ateria to the issues being litigated in this Court and~~Y

W        15 help identify the individuals and computing devices tha n i trated BCM's servers
0        16 on February 14, 2018, and February 19, 2018. Plaintif              e ieve oredoo maybe
m
         17 the only reasonably available source that has possession, custody, or control of such
         18 evidence.
         19        III.   PARTIES AND THEIR COUNSEL
         20         The parties to the above-captioned case and their counsel are as follows
         21
         22
         23
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                                                         -3-
                                                                                 LETTER ROGATORY
     Case 2:18-cv-02421-JFW-E Document 143-1 Filed 07/11/18 Page 5 of 11 Page ID #:2689
       Case 2~ ~8-cv-02421-JFW-E Document 111-1 Filed 06/25/18 Page 5 of 11 Page ID #:2010




           1
           2 Attorneys for Plaintiffs Elliott Broidy       Attorneys for Defendants Stonington
             and BCM                                       Strategies LLC and Nicolas D. Muzin
           3 BOIES SCHILLER FLEXNER LLP                    WILEY REIN LLP
           4 David K. Willingham, Esq.                     Stephen J. Obermeier, Esq.
             725 S Figueroa Street, 31St Floor             Matthew J. Gardner, Esq.
           5 Los Angeles, California 90017                 Rebecca J. Fiebig, Esq.
           6                                               1776 K Street NW
              Lee S. Wolosky, Esq.                         Washington, DC 20006
a          7 Robert J. Dwyer, Esq.
J
           8 575 Lexington Ave.,7t'' Floor                 LECLAIRRYAN LLP
              New York, New York 10022                     Brian C. Vanderhoof, Esq.
W          9
Z                                                          725 S. Figueroa Street, Suite 350
x
W         10 Amy L. Neuhardt, Esq.                         Los Angeles, California 90017
              1401 New York Avenue, NW
LL
          1 1 Washington, DC 20005
w         12                                               Attorneys for Defendant State of
                                                             atar
          13                                               COVINGTON & BURLING LLP
U
          14                                               Mitchell A. Kamin, Esq.
N
                                                           Neema T. Sahni, Esq.
W         15                                               Mark Y. Chen, Esq.
0         16                                               Rebecca G. Van Tassell
m                                                          1999 Avenue ofthe Stars, Suite 3500
          17                                               Los Angeles, California 90067-4643
          18
                                                           Attorneys for Defendants Global Risk
          19                                               Advisors LLC and Kevin Chalker
          20                                               WILMER CUTLER PICKERING
                                                           HALL AND DORR LLP
          21                                               Rebecca A. Girolamo
          22                                               350 South Grand Avenue, Suite 2100
                                                           Los Angeles, CA 90071
          23
                     IV.    RECIPROCITY
          24
                     The United States District Court for the Central District of California
         25
               expresses its willingness to provide similar assistance to the Appropriate Judicial
         26
               Authority of the State of Qatar.
         27
                     V.     REIMBURSEMENT FOR COSTS
         28
                                                        i~
                                                                             LETTER ROGATORY
     Case 2:18-cv-02421-JFW-E Document 143-1 Filed 07/11/18 Page 6 of 11 Page ID #:2690
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           1          Counsel for Plaintiffs is willing to reimburse the judicial authorities of the
           2 State of Qatar for costs incurred in executing this Letter Rogatory. Ifthe cost of
           3 executing this Court's Letter Rogatory exceeds $1,500.00, the judicial authorities of
           4 The State of Qatar are requested to contact the counsel for Plaintiffs:
           5
           6                David K. Willingham, Esq.
                            725 S Figueroa Street, 31 St Floor
a          7                Los Angeles, California 90017
J
           8
W          9         vi.    SPECIAL PROCEDURES
Z
X                    This Court requests that the evidence produced by Ooredoo in response to this
w         10
               letter rogatory be accompanied by a certification attesting that the documents are
LL
          11
w              authentic and that the documents are records Ooredoo creates and maintains in the
          12
J

J              regular course of its business ("Certification"). This special procedure is being
          13
U              requested in order to comply with the Federal Rules of Evidence, which apply to
N
          14
               evidence that will be presented to this Court. Pursuant to the Federal Rules of
w         15
              Evidence, the Certification must be signed by a person in the company who is
0         16
m
          1 ~ responsible for maintaining the documents being produced. In addition, the
          1 g Certification must be signed in a manner that would, if falsely made, subject the
            maker to a criminal penalty in the State of Qatar. This Court considers it necessary
         19
         20 in the interests ofjustice that such a Certification be obtained from a representative
               of Ooredoo when it produces the documents. To provide Ooredoo with guidance
         21
               when preparing the Certification, a proposed form is attached to this letter rogatory
         22
               as Attachment B.
         23
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                                                                              LETTER ROGATORY
     Case 2:18-cv-02421-JFW-E Document 143-1 Filed 07/11/18 Page 7 of 11 Page ID #:2691
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                    Tv~
           1 DATED: 3~          ,2018
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           4                                    United States of America
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                                                                       LETTER ROGATORY
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                                    APPENDIX A
                     TO LETTER ROGATORY ISSUED TO OOREDOO Q.S.C.

                                              DEFINITIONS

                    The term "Subject IP Address" means the following Internet Protocol

    Address:78.100.98.117.

                    a.      The term "Infiltration Date" means each of the following dates with

            respect to the Subject IP Address: both (i) February 14, 2018, from 06:37 to 06:38 UTC

            and (ii) February 19, 2018 at 07:21 UTC.

            2.      The term "Subscriber" means all persons or entities to whom the Subject IP

    Address was assigned on each Infiltration Date.

                                  DOCUMENTS TO BE PRODUCED

    Document Request No. 1:

            Documents sufficient to identify the Subscriber or Subscribers who used the Subject IP

    Address on each of the Infiltration Dates, including the Subscriber's name,telephone numbers,

    email addresses, and the physical location to which the Subject IP Address was assigned.

    Document Request No. 2:

            The computer usage logs, Internet Protocol logs, web server logs, or other documents

    used to record Internet activity relating to the Subject IP Address for the time period beginning

    twenty-four hours before each Infiltration Date until twenty-four hours after each Infiltration

    Date.

    Document Request No. 3:

            All billing records associated with the Subject IP Address on each Infiltration Date.

    Document Request No. 4:




                                                     1
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            Documents sufficient to show the type device or types of devices that used the Subject IP

     Address on each Infiltration Date, including but not limited to device identifying information

    such as the International Mobile Subscriber Identity("IMSI") number,the Media Access Control

    Address("MAC Address"), or other device identifying information associated with the device or

    devices.



            All docu    nts related   reports to    entities inc   ing but n   united to

                t or govern   nt agencie elated to the     bject IPA resses or t     Subsc' er or

            bers to    om the Subj t IP Address as assigned        each Inf ration ate.




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                                  #:2694
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                                    #:2015


                                 APPENDIX B
                  TO LETTER ROGATORY ISSUED TO OOREDOO Q.S.C.


                     CERTIFICATION OF FOREIGN BUSINESS RECORDS

         I, the undersigned,                                 ,with the understanding that I am

  subject to criminal penalty under the laws ofthe State of Qatar governing the making of an

  intentionally false declaration, declare that I am employed by Ooredoo, Q.S.A ("Ooredoo"). I

  hold the position of                                          with the company. As part of my

 official duties in that capacity, I am responsible for maintaining the documents attached to this

 Certification. By virtue of my position and responsibilities, I am authorized and qualified to

 certify the following with respect to the documents attached hereto ("Documents"):

                 The Documents are either original records or are true and accurate copies of

 original records maintained by Ooredoo as part of its regularly conducted business activities.

         2.     The Documents record acts, events, or information relating to Ooredoo's business

 activities.

         3.     The Documents were made, or contain information that was collected and

 recorded, at or near the time ofthe acts, events, or information recorded in them. Alternatively,

 the information contained in the Documents was collected and recorded from information

 transmitted by someone with knowledge of, or by an automated process designed to record, such

 acts, events, or information.

        4.      Ooredoo makes the Documents, or records the information contained in the

 Documents, as part of its regularly conducted business activities.
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                                  #:2695
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                                    #:2016


           Under penalty of perjury pursuant to the laws ofthe State of Qatar, I certify that the

  foregoing statements are true and correct.

  Dated:


 Signature:
 Name:
 Title:
